      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 1 of 7




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DONNA CURLING, et al.

       Plaintiffs,
                                                 CIVIL ACTION
       v.
                                                 FILE NO. 1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,

       Defendants.




                      DECLARATION OF SARA KOTH



      Pursuant to 28 U.S.C. § 1746, I, SARA KOTH, make the following

declaration:

      1.    My name is Sara Koth. I am over the age of 21 years, and I am

under no legal disability which would prevent me from giving this declaration.

If called to testify, I would testify under oath to these facts.

      2.    I am currently the Chief Investigator of the Office of Secretary of

State’s Investigations Division. In that role, I oversee twenty-four other

investigators which investigate matters concerning elections, charities,
      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 2 of 7




securities, professional licensing, corporations, and cemeteries. I and all

investigators of our Division are law enforcement officers certified by the

Georgia Peace Officer Standards and Training Council. See O.C.G.A. § 35-

8-1, et seq.

      3.       In the course of an investigation, our investigators gather

pertinent information, conduct interviews with subjects of the investigations,

and report findings to the governmental entity which authorized or referred

the investigation to our office. Those entities include the State Election

Board, various Professional Licensing Boards, and the Secretary of State (in

his capacity as Securities Commissioner).

      4.       The investigations we conduct may result in civil enforcement

actions pursued by the relevant entity and/or criminal prosecution pursued

by the appropriate prosecuting authority.

      5.       In addition to attending to investigations referred by Georgia

governmental entities, we also work with other investigative authorities within

and outside of Georgia who often seek non-public information for purposes

of their investigations and/or joint investigations with those entities. Some of

those authorities include the Federal Bureau of Investigation, Sheriffs’
      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 3 of 7




Offices within and outside Georgia, Securities Divisions of other states, and

local District Attorneys.

      6.    I have reviewed documents over which State Defendants are

asserting investigative privilege in this case and which I understand are being

withheld on the basis of investigative privilege.

      7.    I am not a lawyer, but understand that the purpose of the

investigatory privilege includes protecting law enforcement techniques and

procedures, preserving the confidentiality of sources, protecting witnesses

and law enforcement personnel, safeguarding the privacy interests of

individuals involved in an investigation, and otherwise protecting the fidelity

of investigations by preventing interference in those investigations.

      8.    I offer this declaration in support of a claim of investigative

privilege concerning the following documents, all of which contain

information about active investigations, which, if released, could harm those

investigations:

      a.    2374_001.PDF. This document contains my personal notes in

beginning to craft an investigative plan into Coffee County, a list of persons

to be interviewed with my handwritten notes and contact information for

individuals, notes from a meeting outlining a plan for investigating the
      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 4 of 7




access, and initial research on possible witnesses using databases from

federal    agencies.   Disclosure   of   these   documents     without   proper

consideration for their confidentiality could jeopardize those investigations by

revealing the methods and notes of investigators.



      b.     2375_001.PDF. This file contains a list of evidence we planned

to or are obtaining regarding the investigation, including specific types of

records we would seek. It also includes information from the state’s

consulting expert regarding the forensic examination of the EMS server.

Disclosure of these documents without proper consideration for their

confidentiality could jeopardize those investigations by revealing the

methods and notes of investigators.



      c.     Coffee County Documents.PDF. This is an email within the

Secretary’s office that contains several reports of investigations, witness

lists, and witness statements. These documents pertain to investigations

which, at their conclusion, are reported to the State Election Board and may

be bound over to the Attorney General or appropriate District Attorney for

enforcement. Revealing information of active elections investigations
      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 5 of 7




contained in these documents without proper safeguards to preserve their

confidentiality could similarly interfere with those investigations.



      d.    Coffee County SEB investigation. This is an email from Ryan

Germany to officials in Coffee County regarding the SEB investigation. It

outlines specific steps the office will seek to take and asks for input on

investigative processes. Disclosure of these documents without proper

consideration for their confidentiality could jeopardize those investigations by

revealing the methods and notes of investigators.



      e.    Coffee County-GBI1.pdf. This is an email between the

Secretary’s office and Agent Whidby of the GBI. It contains several pieces of

information that the Secretary’s office provided to the GBI. Disclosure of

these documents without proper consideration for their confidentiality could

jeopardize those investigations by revealing the methods of investigators.



      f.    RE_ Coffee County- SEB 2020-250.PDF. This is an email from

me providing the then-current draft of the Report of Investigation on Coffee

County as an attachment. These documents pertain to the investigations

which, at their conclusion, are reported to the State Election Board and may
      Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 6 of 7




be bound over to the Attorney General or appropriate District Attorney for

enforcement. Revealing information of active elections investigations

contained in these documents without proper safeguards to preserve their

confidentiality could similarly interfere with those investigations.



      g.    re_   Formal    request    for   assistance    in   Coffee   County

investigation.PDF. This is an email to outside counsel outlining the

investigative process to be used based on discussions with the GBI.

Disclosure of these documents without proper consideration for their

confidentiality could jeopardize those investigations by revealing the

methods and notes of investigators.



      h.    20221003110145808.pdf. This file contains investigative records

related to mileage, location, and hours spent on various components of

investigations on Coffee County. Disclosure of these documents without

proper consideration for their confidentiality could jeopardize those

investigations by revealing the methods and notes of investigators.



      i.    SEB2020-250 ROI.doc. This is the current report of investigation

related to Coffee County. This document contains a variety of detailed
Case 1:17-cv-02989-AT Document 1509-1 Filed 10/10/22 Page 7 of 7
